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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 18-CV-24100-COOKE/GOODMAN


      DIGNA VINAS,

                     Plaintiff/Counter Defendant,

      v.

      THE INDEPENDENT ORDER
      OF FORESTERS,

                  Defendant/Counter Plaintiff.
      ___________________________________/

                  DECLARATION OF KRISTINA B. PETT, ESQ. IN RESPONSE
                     TO THIS COURT’S PAPERLESS ORDER (DOC. 66)

             I, Kristina B. Pett, declare and state as follows:

             1.      I am over twenty-one (21) years of age and am fully competent to make this

      Declaration. I have personal knowledge of the facts set forth in this Declaration, which are

      true and correct.

             2.      I am an attorney with the law firm of McDowell Hetherington LLP (“MH”),

      2385 N.W. Executive Center Drive, Suite 400, Boca Raton, Florida 33431. I am counsel of

      record for Defendant The Independent Order of Foresters (“Foresters”) in the above-

      captioned lawsuit. I am authorized by Foresters to make this Declaration in response to this

      Court’s Paperless Order (Doc. 66).

             3.      On February 18, 2020, Foresters served Plaintiff with a Notice that it would

      be issuing subpoenas to: (1) Hershman Medical Center (“Hershman”); (2) Humana Inc.

      (“Humana”); (3) Kendall Regional Medical Center (“Kendall”); and (4) South Florida
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      Diagnostic Imaging (“S. Florida”). See Notice of Issuance of Non-Party Subpoenas (Doc.

      61-3; “Notice”) at pp. 1-31. Without any objection from Plaintiff’s counsel, Foresters issued

      these subpoenas for service and provided the subpoenas to Burke Investigative Process

      Services Inc. (“Burke”) for service on February 19, 2020.

             4.       On February 21, 2020, Burke served Kendall. See Return of Service attached

      as Exhibit 1.

             5.       On February 24, 2020, Burke served Humana. See Return of Service attached

      as Exhibit 2.

             6.       On February 24, 2020, Plaintiff’s counsel sent an e-mail objecting to the scope

      of the subpoenas. See E-Mails (Doc. 61-4) at p.1 Two days later, Plaintiff’s counsel advised

      that he intended to send the following to each of the subpoena recipients:

              Undersigned counsel represents Plaintiff, Digna Vinas, in a lawsuit brought
              by Digna Vinas against The Independent Order of Foresters. We understand
              Foresters has issued a subpoena requesting production of documents to be
              produced. Mrs. Vinas objects to the scope of the subpoena in that it requests
              documents which exceed the scope of the issues before the Court. We have
              advised Foresters of our objection and ask that you not produce the
              subpoenaed documents until the parties have had an opportunity to
              resolve the matter or have the issues ruled upon by the Court.

      See February 26, 2020 E-Mail attached as Exhibit 5 (emphasis added),

             7.       On March 3, 2020, Foresters served Plaintiff with a Notice that it would be

      issuing an amended subpoena to Kendall at a different address. This subpoena has not been

      served. See Notice at pp. 32-41.

             8.       On March 3, 2020, Burke served S. Florida. See Return of Service attached as

      Exhibit 3.




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             9.         On March 4, 2020, Burke served Hershman. See Return of Service attached

      as Exhibit 4.

             10.        Later that day, Plaintiff’s counsel advised by e-mail that he believed “any

      discovery other than that to Dr. Hershkowitz (sic) is irrelevant,” and that he would be “asking

      the subpoena recipients to hold off on responding until the court can rule on the issue.” See

      E-Mails at p.5.

             11.        On March 10, 2020, a representative from S. Florida spoke with Brenda G.

      Kronzek, Paralegal at MH, and indicated that Plaintiff’s counsel instructed her not to produce

      any records.

             12.        Similarly, on March 11, 2020, a representative from Humana left a voicemail

      for Ms. Kronzek indicating that Plaintiff’s counsel instructed him not to produce any

      documents.

             13.        On March 16, 2020, Foresters served Plaintiff’s counsel with a Notice that it

      would be serving subpoenas on: (1) LabCorp Tampa (“LabCorp”) and (2) Quest Diagnostics

      Incorporated (“Quest”). See Notice at pp. 41-55. Foresters has not served these subpoenas.

      In the Motion to Overrule Plaintiff’s Subpoena Objections (Doc. 61), Foresters was referring

      to these three subpoenas when it stated that it was holding some of the subpoenas for service.

      See Motion at p. 2 n.2.

             14.        Later that day, Plaintiff’s counsel sent an e-mail asking Foresters to advise

      whether it served LabCorp or Quest so he could “request the recipient not to respond until the

      Court has ruled” on his objections. See E-Mails at p.3. Foresters confirmed that these

      subpoenas had not been served.




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             Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

      statements are true and correct to the best of my knowledge.

             Executed this 31st day of March, 2020, at Boca Raton, Florida.



                                                  s/Kristina B. Pett
                                                  Kristina B. Pett




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